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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


MIMI’S SWEET SHOP, INC. ®,
                                                Case No: 1:18-cv-000337-JTN-
      Plaintiff,                                ESC

v.                                              Hon. Janet T. Neff,
                                                District Court Judge
CHARTER TOWNSHIP OF LANSING
DOWNTOWN DEVELOPMENT                               ORDER TO DISMISS
AUTHORITY, STEVEN L. HAYWARD,                    FEDERAL CLAIMS WITH
MICHAEL G. EYDE, EASTWOOD LLC,
                                                 PREJUDICE AND STATE
TOWNEAST LLC, TOWNEAST PARKING
LLC,                                                CLAIMS WITHOUT
                                                      PREJUDICE
      Defendants.


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    ORDER DISMISSING FEDERAL CLAIMS WITH PREJUDICE AND
             STATE LAW CLAIMS WITHOUT PREJUDICE

       Based on the Parties Stipulation to Dismiss Federal Claims With

Prejudice and State Law Claims Without Prejudice, the Court orders as

follows:

       1.     All federal law claims that were or could have been pled in this

action are DISMISSED with prejudice and without costs and attorneys’ fees

to any party.

       2.     All state law claims that were or could have been pled in this

action are DISMISSED without prejudice and without costs and attorneys’

fees to any party.

       3.     Plaintiff reserves its rights to file state law claims in state court

so long as Plaintiff does so within 90 days of the date this Order.

       4.     Defendants reserve all rights, without limitation, to assert and

pursue any and all counterclaims and defenses to any state law claims

Plaintiff files.

       5.     The parties waive any and all claims for sanctions associated

with this action.
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         6.        The parties retain all rights they do or may have to pursue

sanctions in state court should Plaintiff choose to file state law claims.

Dated: October 4, 2018                  ______________________________
                                            /s/ Janet T. Neff
                                        Honorable Janet T. Neff
                                        Western District Court Judge

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